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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                            COLUMBUS DIVISION

UNITED STATES OF AMERICA                     : CRIMINAL NO. 4:20-cr-7 (CDL)

v.                                           : VIOLATIONS:
                                                   18 u.s.c. § 922(g)(1)
AUBREY CRITTENDEN,                                 18 U.S.C. § 924(a)(2)
                                                   18 U.S.C. § 924(d)(1)
       Defendant                                    28 U.S.C. § 2461(c)



THE GRAND JURY CHARGES:


                                COUNT ONE
             (POSSESSION OF A FIREARM BY A CONVICTED FELON)


       On or about September 26, 2019, in the Columbus Division of the Middle District

of Georgia, the defendant,

                               AUBREY CRITTENDEN,

knowing he had previously been convicted of a crime punishable by imprisonment for a

term exceeding one (1) year, did kno':Vingly possess a firearm, that is, one (1) Ruger,
                                        /,


Model: Security-9. 9mm pistol, bearing Serial Number: 382-08258, said firearm having

been shipped and transported in interstate and foreign commerce; in violation of Title 18,

United States Code, Sections 922(g)(1) and 924(a)(2).

                                 FORFEITURE NOTICE
           (18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c) - Criminal Forfeiture)

      1.     The allegation contained in Count One of this Indictment is hereby re-

alleged and incorporated by reference into this Notice for the purpose of alleging
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